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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


VICTOR MEJIA RIOS,                               §
INDIVIDUALLY AND AS NEXT                         §
FRIEND W.D.M.R.; JORGE LUIS                      §     CIVIL NO. SA-19-CV-00552-XR
MARTINEZ MARTINEZ,                               §
INDIVIDUALLY AND AS NEXT                         §
FRIEND TO J.L.M.F.; TOMAS                        §
ANTONIO OLIVEROS,
INDIVIDUALLYAND AS NEXT
FRIEND TO A.R.O.; WILDER
XITUMUL GARCIA,
INDIVIDUALLYAND AS NEXT
FRIEND TO A.M.X.C.; PEDRO
CARRILLO JIMENEZ,
INDIVIDUALLY AND NEXT
FRIEND TO M.C.J.; NELSON
CAZALEGNO PAZ, INDIVIDUALLY
AND NEXT FRIEND TO O.J.C.S.;
JOSE PINEDA RIVERA,
INDIVIDUALLY AND NEXT
FRIEND TO J.M.P.A.; WILSON
PINEDA GONZALES,
INDIVIDUALLY AND AS NEXT
FRIEND TO W.E.P.S.; NOE
WALTER PEREZ GONSALEZ,
INDIVIDUALLY AND AS NEXT
FRIEND TO G.L.P.G.; MARVIN
REYES PORTILLO, INDIVIDUALY
AND AS NEXT FRIEND TO
M.R.R.R.; RUBIER NATO DE
OLIVEIRA, INDIVIDUALLY AND
NEXT FRIEND TO G.H.D.O.;
OBDULIO VASQUEZ PUAC,
INDIVIDUALLY AND AS NEXT
FRIEND TO T.P.C.; AND ELMER
VELIZ RIVERA, INDIVIDUALLY
AND AS NEXT FRIEND TO
E.Y.V.B.;
-vs-
THE GEO GROUP, INC.,


                                  ORDER AND ADVISORY

       It is ORDERED that the Plaintiff(s) confer with the Defendant(s) as required by Fed. R.

Civ. P 26(f) to submit (1) a proposed scheduling order and (2) a Rule 26(f) Report in the formats
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shown in the attached documents for the Court’s consideration by September 3, 2019. Failure to

do so may result in the Court’s entering its own scheduling order.

       After receipt of the Proposed Scheduling Order and Rule 26(f) Report, the Court will

issue an Order setting an Initial Pre-Trial Conference pursuant to Fed. R. Civ. P. 16.

       At the request of the Bar, the San Antonio District Judges have implemented a procedure

whereby a Magistrate Judge is assigned to each civil case at the time it is filed. The assignments

are made randomly and are evenly divided among the three San Antonio Magistrate Judges. If a

pretrial matter is referred by the District Judge, it will be handled by the Magistrate Judge to

whom the case was assigned. Similarly, if the parties consent to Magistrate Judge jurisdiction,

the case will be placed on the docket of the assigned Magistrate Judge for all future proceedings,

including entry of final judgment. 28 U.S.C. § 636(c). The Magistrate Judge assigned to this

case is Judge Farrer.

       So that this Court may more efficiently manage its docket, the parties are hereby

ORDERED to notify the Court whether or not they consent, under 28 U.S.C. § 636(c), to

Magistrate Judge jurisdiction. Therefore, within thirty (30) days of the date of the filing of this

Order, each party shall sign the appropriate election form to be filed with the Clerk's Office (see

attached).



       SIGNED this August 1, 2019.




                                                     XAVIER RODRIGUEZ
                                                     UNITED STATES DISTRICT JUDGE
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     FOR THE WESTERN DISTRICT OF TEXAS
                        SAN ANTONIO DIVISION



VICTOR        MEJIA           RIOS,   '
INDIVIDUALLY AND AS NEXT              '
FRIEND W.D.M.R.; JORGE LUIS           '
MARTINEZ                MARTINEZ,     '
INDIVIDUALLY AND AS NEXT              '
FRIEND    TO    J.L.M.F.;   TOMAS     '
ANTONIO                  OLIVEROS,    '
INDIVIDUALLYAND        AS    NEXT
                                      '
FRIEND    TO    A.R.O.;    WILDER
XITUMUL                    GARCIA,
INDIVIDUALLYAND        AS    NEXT
FRIEND TO      A.M.X.C.;    PEDRO
CARRILLO                  JIMENEZ,
INDIVIDUALLY AND NEXT FRIEND
TO M.C.J.; NELSON CAZALEGNO
PAZ, INDIVIDUALLY AND NEXT
FRIEND TO O.J.C.S.; JOSE PINEDA
RIVERA, INDIVIDUALLY AND NEXT
FRIEND TO J.M.P.A.; WILSON
PINEDA GONZALES, INDIVIDUALLY
AND AS NEXT FRIEND TO W.E.P.S.;
NOE WALTER PEREZ GONSALEZ,
INDIVIDUALLY AND AS NEXT
FRIEND TO G.L.P.G.; MARVIN
REYES PORTILLO, INDIVIDUALY
AND AS NEXT FRIEND TO M.R.R.R.;
RUBIER NATO DE OLIVEIRA,
INDIVIDUALLY AND NEXT FRIEND
TO G.H.D.O.; OBDULIO VASQUEZ
PUAC, INDIVIDUALLY AND AS
NEXT FRIEND TO T.P.C.; AND
ELMER        VELIZ         RIVERA,
INDIVIDUALLY AND AS NEXT
FRIEND TO E.Y.V.B.

v.                                        CIVIL NO. SA-19-CV-00552-XR

THE GEO GROUP, INC.

                    PLAINTIFFS ADVISORY TO THE CLERK OF COURT
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       Plaintiff in the above-captioned case elects as follows (please select only one of the
following options):

       G       I consent to proceed before a United States Magistrate Judge in accordance with
               provisions of Title 28 U.S.C. Section 636. Plaintiff in the above-captioned case
               waives the right to proceed before a United States District Judge and consents to
               have a United States Magistrate Judge conduct any and all further proceedings in
               this case, including rendering a decision, and to order the entry of final judgment.
               Any appeal shall be taken to the United States Court of Appeals for the Fifth
               Circuit in accordance with Title 28 U.S.C. Section 636(c)(3).


       G       I do not consent to proceed before a United States Magistrate Judge. Plaintiff in
               the above-captioned case elects not to have this case decided by a United States
               Magistrate Judge and prefers that this case proceed before the United States
               District Judge.


________________________________________
           Plaintiff=s Name

By: _____________________________________
            Signed by Attorney

                                                                            Date
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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION



VICTOR        MEJIA           RIOS,   '
INDIVIDUALLY AND AS NEXT              '
FRIEND W.D.M.R.; JORGE LUIS           '
MARTINEZ                MARTINEZ,     '
INDIVIDUALLY AND AS NEXT              '
FRIEND    TO    J.L.M.F.;   TOMAS     '
ANTONIO                  OLIVEROS,    '
INDIVIDUALLYAND        AS    NEXT
                                      '
FRIEND    TO    A.R.O.;    WILDER
XITUMUL                    GARCIA,
INDIVIDUALLYAND        AS    NEXT
FRIEND TO      A.M.X.C.;    PEDRO
CARRILLO                  JIMENEZ,
INDIVIDUALLY AND NEXT FRIEND
TO M.C.J.; NELSON CAZALEGNO
PAZ, INDIVIDUALLY AND NEXT
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RIVERA, INDIVIDUALLY AND NEXT
FRIEND TO J.M.P.A.; WILSON
PINEDA GONZALES, INDIVIDUALLY
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REYES PORTILLO, INDIVIDUALY
AND AS NEXT FRIEND TO M.R.R.R.;
RUBIER NATO DE OLIVEIRA,
INDIVIDUALLY AND NEXT FRIEND
TO G.H.D.O.; OBDULIO VASQUEZ
PUAC, INDIVIDUALLY AND AS
NEXT FRIEND TO T.P.C.; AND
ELMER        VELIZ         RIVERA,
INDIVIDUALLY AND AS NEXT
FRIEND TO E.Y.V.B.

v.                                        CIVIL NO. SA-19-CV-00552-XR

THE GEO GROUP, INC.

                   DEFENDANTS ADVISORY TO THE CLERK OF COURT
           Case 5:19-cv-00552-XR Document 10 Filed 08/01/19 Page 6 of 13



       Defendant in the above-captioned case elects as follows (please select only one of the
following options):
       G       I consent to proceed before a United States Magistrate Judge in accordance with
               provisions of Title 28 U.S.C. Section 636. Defendant in the above-captioned case
               waives the right to proceed before a United States District Judge and consents to
               have a United States Magistrate Judge conduct any and all further proceedings in
               this case, including rendering a decision, and to order the entry of final judgment.
               Any appeal shall be taken to the United States Court of Appeals for the Fifth
               Circuit in accordance with Title 28 U.S.C. Section 636(c)(3).


       G       I do not consent to proceed before a United States Magistrate Judge. Defendant
               in the above-captioned case elects not to have this case decided by a United States
               Magistrate Judge and prefers that this case proceed before the United States
               District Judge.



________________________________________
           Defendant's Name


By: _____________________________________
            Signed by Attorney

                                                                            Date
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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION



VICTOR        MEJIA           RIOS,   '
INDIVIDUALLY AND AS NEXT              '
FRIEND W.D.M.R.; JORGE LUIS           '
MARTINEZ                MARTINEZ,     '
INDIVIDUALLY AND AS NEXT              '
FRIEND    TO    J.L.M.F.;   TOMAS     '
ANTONIO                  OLIVEROS,    '
INDIVIDUALLYAND        AS    NEXT
                                      '
FRIEND    TO    A.R.O.;    WILDER
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PUAC, INDIVIDUALLY AND AS
NEXT FRIEND TO T.P.C.; AND
ELMER        VELIZ         RIVERA,
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v.                                        CIVIL NO. SA-19-CV-00552-XR

THE GEO GROUP, INC.
           Case 5:19-cv-00552-XR Document 10 Filed 08/01/19 Page 8 of 13




                       AGREED1 SCHEDULING RECOMMENDATIONS

The parties recommend that the following deadlines be entered in the scheduling order to control
the course of this case:

MOTIONS FOR LEAVE TO AMEND PLEADINGS.

The deadline for Plaintiff(s) to file a motion seeking leave to amend pleadings; or to join parties
is ______________.2

The deadline for Defendant(s) to file a motion (1) to designate responsible third parties, pursuant
to Texas Civil Practices & Remedies Code § 33.004(a); (2) seeking leave to amend pleadings; or
(3) to join parties is ______________.3

EXPERTS

All parties asserting claims for relief shall file their designation of testifying experts and serve on
all parties, but not file, the materials required by Fed. R. Civ. P. 26(a)(2)(B) on or before
________________________.4

Parties resisting claims for relief shall file their designation of testifying experts and serve on all
parties, but not file, the materials required by Fed. R. Civ. P. 26(a)(2)(B) on or before
__________________.5

All parties shall file all designations of rebuttal experts and serve on all parties the material
required by Fed. R. of Civ. P. 26(a)(2)(B) for such rebuttal experts, to the extent not already
served, within fifteen (15) days of receipt of the report of the opposing expert.

An objection to the reliability of an expert’s proposed testimony under Federal Rule of Evidence
702 shall be made by motion, specifically stating the basis for the objection and identifying the
objectionable testimony, within eleven (11) days from the receipt of the written report of the
expert’s proposed testimony, or within eleven (11) days from obtaining a copy of the expert’s
deposition, if a deposition is taken, whichever is later.

The deadline for filing supplemental reports required under Fed. R. Civ. P. 26(e) is
_______________________.



1 This document should generally be filed as an agreed upon recommendation. If any party cannot agree to certain
deadline, that party should indicate with specificity why a dispute exists as to the appropriate deadline.
2 Generally 60 days from date of this order.
3 Generally 75 days from date of this order.
4 Generally 90 days from date of this order.
5 Generally 120 days from date of this order.
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WITNESS LIST, EXHIBIT LIST, AND PRETRIAL DISCLOSURES

The deadline for filing Rule 26(a)(3) disclosures is _______________.

The deadline for filing objections under Rule (26)(a)(3) is _________________. Any objections
not made will be deemed waived.

COMPLETION OF DISCOVERY

Written discovery requests are not timely if they are filed so close to this deadline that under the
Federal Rules of Civil Procedure the response would not be due until after the deadline.

The deadline for the completion of all discovery is _______________.6

ALTERNATIVE DISPUTE RESOLUTION (ADR) REPORT

A report on alternative dispute resolution in compliance with Local Rule CV-88 shall be filed on
or before _________________.

The parties asserting claims for relief shall submit a written offer of settlement to opposing
parties on or before ______________, and each opposing party shall respond, in writing on or
before ____________.

All offers of settlement are to be private, not filed. The parties are ordered to retain the written
offers of settlement and response as the Court will use these in assessing attorneys' fees and costs
at the conclusion of the proceedings.

If a settlement is reached, the parties should immediately notify the Court so the case may be
removed from the Court’s trial docket.

PRETRIAL MOTIONS

No motion (other than a motion in limine) may be filed after this date except for good cause. The
deadline to file motions (including dispositive motions and Daubert motions) is
_______________________. 7 This deadline is also applicable to the filing of any summary
judgment motion under Fed. R. Civ. P. 56 and any defense of qualified immunity. Leave of
court is automatically given to file motions, responses, and replies not to exceed 30 pages in
length.8 Fed. R. Civ. P. 6(d) does not apply to the time limits set forth in Local Rule CV-7 for
responses and replies to motions.



6 Generally 180 days from date of this order.
7 This date should not be any later than 90 days before the case is scheduled for trial in order to allow the Court
adequate time to rule.
8 This supersedes the page limit specified in TXWD Local Rules CV-7(d)-(f).
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JOINT PRETRIAL ORDER AND MOTION IN LIMINE

The deadline to file a Final Joint Pretrial Order and any motion in limine is
_____________________.

All attorneys are responsible for preparing the Final Joint Pretrial Order, which must contain the
following:

(1) a short statement identifying the Court’s jurisdiction. If there is an unresolved jurisdictional
question, state it;

(2) a brief statement of the case, one that the judge could read to the jury panel for an
introduction to the facts and parties;

(3) a summary of the remaining claims and defenses of each party;

(4) a list of facts all parties have reached agreement upon;

(5) a list of contested issues of fact;

(6) a list of the legal propositions that are not in dispute;

(7) a list of contested issues of law;

(8) a list of all exhibits expected to be offered. Counsel will make all exhibits available for
examination by opposing counsel. All documentary exhibits must be exchanged before the final
pre-trial conference. The exhibit list should clearly reflect whether a particular exhibit is objected
to or whether there are no objections to the exhibit;

(9) a list of the names and addresses of witnesses who may be called with a brief statement of the
nature of their testimony;

(10) an estimate of the length of trial;

(11) for a jury trial, include (a) proposed questions for the voir dire examination, and (b) a
proposed charge, including instructions, definitions, and special interrogatories, with authority;

(12) for a nonjury trial, include (a) proposed findings of fact and (b) proposed conclusions of
law, with authority;

(13) the signatures of all attorneys; and

(14) a place for the date and the signature of the presiding judge.
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FINAL PRETRIAL CONFERENCE

The Final Pretrial Conference shall be held on [THIS DATE WILL BE COMPLETED BY THE
COURT] ___________________________.

Motions in limine, if any, will be heard on this date. Counsel should confer prior to this hearing
on any issues raised in a motion in limine or the Joint Pretrial Order. Any party intending to use a
demonstrative exhibit should provide the same to opposing counsel at least 3 days prior to the
Final Pretrial conference so that if any objections or issues are raised about the demonstrative
exhibit, they can be addressed at the final pretrial conference.

TRIAL

The Trial Date is [PARTIES MAY SUGGEST A TRIAL DATE. IT IS RECOMMENDED
THAT THE PARTIES CONTACT THE COURTROOM DEPUTY TO DETERMINE
AVAILABILITY ON THE COURT CALENDAR] ______________________.
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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
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VICTOR        MEJIA           RIOS,   '
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FRIEND W.D.M.R.; JORGE LUIS           '
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INDIVIDUALLYAND        AS    NEXT
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NEXT FRIEND TO T.P.C.; AND
ELMER        VELIZ         RIVERA,
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v.                                        CIVIL NO. SA-19-CV-00552-XR

THE GEO GROUP, INC.

                      JOINT FED. R. CIV. P. 26 REPORT
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1. Are there any outstanding jurisdictional issues? For removed cases based on diversity
   jurisdiction, do the parties agree that the amount in controversy exceeded $75,000 at the
   time of removal? If not, each party should state its position on the amount in
   controversy.
2. Are there any unserved parties? If more than 90 days have passed since the filing of the
   Complaint or petition, should these unserved parties be dismissed?
3. What are the causes of action, defenses, and counterclaims in this case? What are the
   elements of the cause(s) of action, defenses, and counterclaims pled?
4. Are there any agreements or stipulations that can be made about any facts in this case or
   any element in the cause(s) of action?
5. State the parties’ views and proposals on all items identified in Fed. R. Civ. P. 26(f)(3).
6. What, if any, discovery has been completed? What discovery remains to be done? Have
   the parties considered conducting discovery in phases?
7. What, if any, discovery disputes exist?
8. Have the parties discussed the desirability of filing a proposed order pursuant to Federal
   Rule of Evidence 502?
9. Have the parties discussed mediation?
